        Case 4:19-cv-03004 Document 15 Filed on 08/19/19 in TXSD Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS


 R.B.                                                    Case No. 4:19-cv-03004
          Plaintiff,
                                                          Judge David Hittner
 v.
                                                           PARTIES’ JOINT NOTICE AND
 JENNIFER M. SMITH, ET AL.                                 REQUEST FOR CONTINUANCE
      Defendants.                                          OF AUGUST 21, 2019 HEARING



         This matter came before the Court on Plaintiff’s Motion for a Temporary Restraining Order

and Preliminary Injunction and Plaintiff’s Motion for Expedited Discovery.

         Plaintiff R.B. initiated this action for declaratory judgment and injunctive relief on August 12,

2019 against Defendants. Defendants are employed by Texas A&M University and are collectively

referred to as “TAMU” for purposes of this notice and stipulation. The Plaintiff alleges that TAMU

is seeking to impose discipline in violation of the Due Process guarantees of the United States

Constitution. TAMU denies these allegations.

         The Plaintiffs and TAMU, have conferred and agree that the status quo pending the resolution

of the administrative process at Texas A&M. The parties agree and stipulate to the following:

         1.      The hearing on scheduled for August 21, 2019 should be vacated (Doc. #12).

         2.      TAMU will not impose any disciplinary sanctions against Plaintiff related to the alleged

                 sexual misconduct described in this Complaint until ten days after the administrative

                 process at TAMU has been fully and finally resolved, i.e., until all internal appeals have

                 been resolved and no further appeals may be taken. Accordingly, Plaintiff may enroll

                 in classes and participate in curricular and extra-curricular activities as a student in

                 good standing until ten days after the administrative process at TAMU has been fully

                 and finally resolved.

                                                     1
Case 4:19-cv-03004 Document 15 Filed on 08/19/19 in TXSD Page 2 of 3



 3.    Plaintiff shall not initiate, directly or indirectly, any contact with the complainants

       identified in the Complaint.

 4.    All briefing on the Motion for a Preliminary Injunction (Doc. #3) is stayed.

       Defendants will submit a Notice to the Court immediately following the completion

       of the administrative process indicating whether any discipline will be imposed on

       Plaintiff. Should TAMU, after the completion of the all administrative appeals, still

       seek to impose discipline on Plaintiff related to the alleged sexual misconduct

       described in this Complaint, Plaintiff may seek a hearing date from the Court for the

       Motion for a Temporary Restraining Order and Preliminary Injunction.

 5.    The parties submit an agreed proposed Protective Order and Order on Expedited

       Discovery, attached hereto as exhibits, and respectfully request entry.




                                          2
      Case 4:19-cv-03004 Document 15 Filed on 08/19/19 in TXSD Page 3 of 3



Respectfully submitted.


 /s/Joshua Engel (w/permission by H. Carl Myers)       KEN PAXTON
 James Holtz                                           Attorney General of Texas
 Texas Bar No. 09931450
 Fed. Bar No. 1452                                     JEFFREY C. MATEER
 Will Holtz                                            First Assistant Attorney General
 Texas Bar No. 24092533
 Fed. Bar No. 308796                                   DARREN L. MCCARTY
 THE HOLTZ LAW FIRM, P.C.                              Deputy Attorney General for Civil Litigation
 2121 Sage Road, Suite 250
 Houston, Texas 77056                                  THOMAS A. ALBRIGHT
 (713) 467-1396                                        Chief for General Litigation Division
 jholtz@holtzlegal.com
 wholtz@holtzlegal.com                                 /s/ Carl.
                                                       H. CARL MYERS
 Joshua Adam Engel                                     Texas Bar No. 24046502
 Ohio Bar No. 0075769                                  Fed. Bar No. 852368
 Anne Tamashashy                                       Assistant Attorney General
 Ohio Bar No. 0064393                                  Office of the Attorney General
 Pro Hac Vice
                                                       General Litigation Division
 ENGEL AND MARTIN, LLC
                                                       P.O. Box 12548, Capitol Station
 4660 Duke Drive, Suite 101
                                                       Austin, Texas 78711-2548
 Mason, Ohio 45040
                                                       (512) 463-2120 | FAX: (512) 320-0667
 (513) 445-9600
                                                       carl.myers@oag.texas.gov
 Facsimile (513) 492-8989
 engel@engelandmartin.com
 tamashasky@engelandmartin.com                         Counsel for Defendants

 Counsel for Plaintiff




                                                   3
